Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 1 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 2 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 3 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 4 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 5 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 6 of 7
Case 2:04-bk-60904   Doc 204    Filed 03/23/07 Entered 03/26/07 14:40:22   Desc Main
                               Document      Page 7 of 7
